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ATTORNEYS FOR DEFENDANTS

                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF WYOMING


BCB CHEYENNE LLC d/b/a BISON,                    )
BLOCKCHAIN, a Wyoming limited liability          )
company,                                         )
                                                 )   Case No. 1:23-cv-00079-ABJ
                Plaintiff,                       )
                                                 )
         vs.                                     )
                                                 )
MINEONE WYOMING DATA CENTER, LLC, )
a Delaware limited liability company; MINEONE )
PARTNERS LLC, a Delaware limited liability       )
company; TERRA CRYPTO INC., a Delaware           )
corporation; BIT ORIGIN LTD, a Cayman Islands )
Company; SONICHASH LLC, a Delaware limited )
liability company; and JOHN DOES 1–20, related )
persons and companies who control or direct some )
or all of the named Defendants.                  )
                                                 )
                        Defendants.              )


 DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF TIME TO RESPOND
       TO PLAINTIFF’S FIRST AMENDED COMPLAINT [DOC. NO. 50]
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         Defendants MineOne Wyoming Data Center LLC, MineOne Partners LLC, Terra Crypto

Inc., Bit Origin Ltd, and SonicHash LLC, by and through counsel, HATHAWAY & KUNZ, LLP, and

pursuant to Rule 6(b) of the Federal Rules of Civil Procedure and Local Rule 6.1, hereby request

an extension of time of fourteen (14) days, until October 27, 2023, to file their answers or

responsive pleadings to Plaintiff’s First Amended Complaint for Breach of Contract, Anticipatory

Repudiation of Contract, Intentional Interference with Contractual Relations, Alter Ego Liability,

Enterprise Liability, and Lost Profits and Money Damages [Doc. No. 50]. In support of this

Motion, Defendants state as follows:

         1.      The deadline for Defendants to answer or otherwise respond to Plaintiff’s First

Amended Complaint is October 13, 2023. Defendants request an additional 14 days to answer or

otherwise respond to the First Amended Complaint.

         2.      The requested extension will not conflict with any scheduling or other order of the

Court.

         3.      Counsel for Defendants has conferred with counsel for Plaintiff and there are no

objections to filing the motion or to the extension.

         WHEREFORE, Defendants request that they be granted an extension of time of fourteen

(14) days and until October 27, 2023, to serve their responsive pleadings to Plaintiff’s First

Amended Complaint.

         DATED this 11th day of October, 2023.

                                                       /s/ Sean Larson
                                                       Sean Larson Wyo. Bar #7-5112
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DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF TIME TO RESPOND TO PLAINTIFF’S FIRST
                       AMENDED COMPLAINT [DOC. NO. 50]
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                                                   ATTORNEYS FOR DEFENDANTS

                                                   MINEONE WYOMING DATA CENTER
                                                   LLC, a Delaware limited liability company;
                                                   MINEONE PARTNERS LLC, a Delaware
                                                   limited liability company; TERRA CRYPTO
                                                   INC., a Delaware corporation; BIT ORGIN,
                                                   LTD, a Cayman Island Company;
                                                   SONICHASH LLC, a Delaware limited
                                                   liability company; and JOHN DOES 1-20,
                                                   related persons and companies who control
                                                   or direct some or all of the named
                                                   Defendants.

                               CERTIFICATE OF SERVICE

       This is to certify that on the 11th day of October, 2023, a true and correct copy of the
foregoing was served upon counsel as follows:

         Patrick J. Murphy                             [ ] CM/ECF
         Scott C. Murray                               [ ] Fax:
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                                                   /s/ Candice Hough
                                                   Hathaway & Kunz, LLP




DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF TIME TO RESPOND TO PLAINTIFF’S FIRST
                       AMENDED COMPLAINT [DOC. NO. 50]
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